Case MDL No. 2406 Document 64 Filed 09/26/12 Page 1 of 2

UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

2406 Blue Cross Blue Shield Antitrust Litigation
MDL No. & TITLE - IN RE:

Case Caption (Include Plaintiff, District, and Civil Action No.) (attach list if necessary):

Jarreau v. Louisiana Health Service & Indemnity Company, Case No. 3:12-cv-00421, USDC, MDLA

CORPORATE DISCLOSURE STATEMENT

. Louisiana Health Service & Inden ,
The undersigned counsel for , (attach list if necessary) certifies that this

party is a non-governmental corporate party and that:

[| This party's parent corporation(s) are listed below:

L] The following publicly-held corporation(s) own 10% or more of the party's stock (attach list if
necessary):

OR

This party does not have any parent corporations; and no publicly-held corporation owns 10% or
more of the party's stock.

/s/ Charles A. O'Brien, III Blue Cross and Blue Shield of Louisiana
Signature of Attorney Name of Firm

5525 Reitz Avenue Baton Rouge, LA 7080
Address City/State/Zip Code

9/26/2012
Date

Instructions:

|. Download the form. Fill out the form and save as a PDF document. All documents filed with the Judicial Panel should be in PDF Format including attachments and
exhibits. The Corporate Disclosure Statement is to be filed as a separate document. Any documents submitted with the Corporate Disclosure Statement are attachments.
2. Select MDL from the menu bar at the top of the ECF screen.

3. Click on Corporate Disclosure Statement. Select Next.

4. Enter the three or four digit number (without the MDL letters) and click the Find This Case button.

5. If this is the correct MDL No., select next. Also, select next for the following screen.

6. Choose the cases for which the Disclosure Statement is being filed.

7. Select the party filing the Disclosure Statement

8. Select the document to which the Corporate Disclosure relates. (Note: Disclosures filed in new litigations will be linked to the initial Motion for Transfer and Disclosures
filed in transferred litigations should be linked to the Conditional Transfer Order (CTO) or Motion and Brief to Vacate CTO).

9, Upload the Corporate Disclosure Form and any attachments as a PDF document.

10. Submit the Disclosure Statement by selecting the Next button,
Case MDL No. 2406 Document 64 Filed 09/26/12 Page 2 of 2

BEFORE THE UNITED STATES
JUDICIAL PANEL
ON MULTIDISTRICT LITIGATION

In re: Blue Cross Blue Shield Antitrust Litigation - MDL No. 2406

CERTIFICATE OF SERVICE

I hereby certify that on September 26, 2012, the foregoing Corporate Disclosure
Statement was electronically filed with the Clerk of Court using the CM/ECF system,

which will send notification of such filing to all counsel of record.

/s/ Charles A. O’Brien, HI

Charles A. O’Brien, III (LA Bar No. 10143)
Allison N. Pham (LA Bar No. 29369)

5525 Reitz Avenue (70809)

Post Office Box 98029

Baton Rouge, Louisiana 70898-9029
Telephone: (225) 295-2454
Facsimile: (225) 297-2760
Andy.O’Brien@bcbsla.com
Allison.Pham@bcbsla.com

Attorneys for Defendant Louisiana Health
Service & Indemnity Company d/b/a Blue
Cross and Blue Shield of Louisiana
